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          DEA announces enhanced tool for registered drug manufacturers and distributors to combat opioid crisis



                                                 February 26, 2019                                                                        FOR IMMEDIATE RELEASE
                                                 Contact: National Media Affairs Office
                                                 Phone Number: (202) 307-1000




                                                 DEA announces enhanced tool for registered drug
          Drug Enforcement                       manufacturers and distributors to combat opioid crisis
          Administration
                                                 WASHINGTON – The Drug Enforcement Administration today announced the launch of an enhanced system
          DEA Headquarters
                                                 to help more than 1,500 registered drug manufacturers and distributors nationwide more effectively identify
          @DEAHQ
                                                 potential illicit drug diversion and combat the opioid epidemic.


                                                 On Oct. 24, 2018, President Trump signed into law the “Substance Use–Disorder Prevention that Promotes
                                                 Opioid Recovery and Treatment for Patients and Communities Act,” or the “SUPPORT for Patients and
                                                 Communities Act” (Public Law 115-217). A provision in the bill amends 21 U.S.C. 827, requiring the Drug
                                                 Enforcement Administration to provide drug manufacturers and distributors with access to anonymized
                                                 information through the Automated Reports and Consolidated Orders System (ARCOS) to help drug
                                                 manufacturers and distributors identify, report and stop suspicious orders of opioids and reduce diversion rates.


                                                 ARCOS is a comprehensive drug reporting system that monitors the distribution of controlled substances from
                                                 the point of manufacture through commercial drug supply chain channels to the point of sale to the retail level
                                                 (e.g., practitioners, pharmacies, hospitals/clinics). ARCOS does not contain or collect any data on sales to
                                                 ultimate users (i.e., patients).


                                                 In February 2018, DEA launched a new tool in its ARCOS Online Reporting System to assist drug
                                                 manufacturers and distributors with their regulatory obligations under the Controlled Substances Act. The new
                                                 statutory requirement in the SUPPORT Act builds upon this existing tool and DEA is releasing a further
                                                 enhancement to its ARCOS Online Reporting System. The enhancement will allow DEA-registered
                                                 manufacturers and distributors to view and download the number of distributors and the amount (anonymized
                                                 data in both grams and dosage units) each distributor sold to a prospective customer in the last available six
                                                 months of data. This resource is one of many steps DEA is taking to collaborate with its 1.8 million registrants
                                                 to combat the ongoing opioid epidemic in the United States.


                                                 DEA regulations require distributors to both know their customers and develop a system to identify and report
                                                 suspicious orders. Manufacturers and distributors have consistently expressed a desire for assistance from
                                                 DEA in fulfilling these obligations and have requested ARCOS information to help them make informed
                                                 decisions about whether new customers are purchasing excessive quantities of controlled substances. This new




https://www.dea.gov/press-releases/2019/02/26/dea-announces-enhanced-tool-registered-d... 3/28/2019
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                                                    tool will provide valuable information for distributors to consider as part of their assessment. For example, if a
                                                    query resulted in a large number of suppliers who have recently sold unusual quantities of opioid analgesics to
                                                    a prospective purchaser, this may represent a “red flag” to the new distributor and foster a dialogue between
                                                    that distributor and the pharmacy.



                                                     ARCOS Online Reporting System
                                                                                                             ###




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